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AO 450 (SCD 04/2010) Judgment in a Civil Action


                                    UNITED STATES DISTRICT COURT
                                                              for the
                                                     District of South Carolina


                 Jeremy Travoi Saxon,
                       Plaintiff
                          v.                                     )       Civil Action No.    0:19-cv-02436-DCN
                                                                 )
                                                                 )
                                                                 )
  Brittany Archambault; Lonnie Smith; Donna                      )
                   Miller,
                 Defendants

                                    JUDGMENT IN A CIVIL ACTION
The court has ordered that (check one):

  the plaintiff (name)           recover from the defendant (name)             the amount of
dollars ($ ), which includes prejudgment interest at the rate of    %, plus postjudgment interest at the rate of
      %, along with costs.

O other: The plaintiff, Jeremy Travoi Saxon, shall take nothing of the defendants, Brittany Archambault,
Lonnie Smith, and Donna Miller, and this action is dismissed with prejudice.

This action was (check one):

 tried by a jury, the Honorable                             presiding, and the jury has rendered a verdict.

 tried by the Honorable                            presiding, without a jury and the above decision was reached.

O decided by the Honorable David C. Norton, United States District Judge, presiding, affirming the Report
and Recommendation of the Honorable Paige J. Gossett, United States Magistrate Judge, which recommended
dismissing the complaint with prejudice for failure to prosecute

Date: October 20, 2020                                                  ROBIN L. BLUME, CLERK OF COURT

                                                                                        s/M.McDonnell
                                                                              Signature of Clerk or Deputy Clerk
